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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :      Case Number 21-cr-175 (TJK)
ETHAN NORDEAN et al.,                        :
                                             :
                      Defendants.            :

      UNITED STATES’ NOTICE OF CORRESPONDENCE TO DEFENDANTS IN
     ADVANCE OF SEPTEMBER 21, 2021, HEARING ON MOTIONS TO DISMISS

       The United States respectfully files this notice regarding correspondence provided by the

government earlier today to counsel for all defendants. The correspondence relates to the charges

in the superseding indictment based on 18 U.S.C. § 231(a)(3) (civil disorder), and the government

wishes to alert the Court to the substance of the correspondence in advance of next week’s hearing

on defendant Ethan Nordean’s motion to dismiss (ECF 94), which has been joined by defendants

Joseph Biggs and Charles Donohoe and is scheduled for 11:00 a.m. on September 21, 2021.

                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney
                                             DC Bar No. 415793

                                     By:     /s/ Luke M. Jones
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